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uNlTED sTATEs DlsTRlcT couRT §§ w S/
WESTERN D|STR|CT OF TENNESSEE
EASTERN D|VlS|ON

UNITED STATES OF AMERICA

.v. 03-10060-01-T

 

LARRY J. MOBLEY
J. Patten Brown. FPD
Defense Attorney
200 Jef'ferson Avenue, Ste. 200
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 1-7 of the indictment on February 10, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following

 

offense(s):
Date Offense Count
Title & Section N_Mees_e Concluded Numberlsl

21 U.S.C. § 841(3)(1) Possession of 500 Grams or More 05/08!2002 1
of i\/iethamphetamine with intent to
Distribute

21 U.S.C. § 841(a)(1) Possession of lVlarijuana with intent 05/08/2002 2
to Distribute

21 U.S.C. § 841 (a)(1) Possession of Cocaine with intent 05/08/2002 3
to Distribute

18 U.S.C. § 922(9) Convicted Fe|on in Possession of 05108/2002 4
Firearms Shipped in interstate
Commerce

21 U.S.C. § 841(a)(1) Possession of Firearms During and 05/08/2002 5, 6 and 7
in Reiation to a Drug Trafficl<ing
Crlme

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the iVlandatory
Viotims Restitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for

this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

This document entered on the docket heat in compliance
with none 55 and!or 32(b) FFich on §§ ¢Q 3 l j l § q

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Case No'. 1:03cr10060-01-T Defendant Name: Larry J. !Viob|ey Page 2 of 6
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/18/1945 June 22, 2005

Deft's U.S. l\/iarshai No.: 19360-076

Defendant’s i\/iaiiing Address:
4201 Browntown Road
Crossvi||e, TN

WA»M

JA|V|E D. TODD
CH|E NlTED STATES DlSTR|CT JUDGE

June 9' z ,2005

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 188 months as to each of Counts 1 and 3,
concurrentiy, and 60 months as to Count 2, to run concurrently with the sentences
imposed as to Counts 1 and 3; 120 months as to Count 4, concurrently with
sentences imposed as to Counts 1, 2 and 3. The sentences imposed as to Counts 1,
2, 3 and 4 are to run concurrently with the sentences imposed in case #20-CR-00115,
Caiioway County, KY. A sentence of 60 months is imposed as to each of counts 5,
6 and 7, to run concurrently with each other, and consecutive to the sentences
imposed as to Counts 1,2, 3 and 4, and with sentences imposed in case #02-CR-0015,
Ca||oway County, KY; for a total of 248 Months.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States iviarshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. iV|arsha|

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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years as to each of Counts 1, 2, 3, 5, 6 and 7 and 3 years as to Count 4,
concurrent.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDIT|ONS OF SUPERV|SION

1. The defendant shall not leave thejudlcial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month',

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl usedr
distributed. or administered;

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8. The defendant shall not associate with any persons engaged iri criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit contiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD|T|ONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program of testing and treatment for
substance abuse as directed by the United States Probation Office.

2. The defendant shall cooperate with the United States Probation Office in the collection of
DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution

$700.00

The Specia| Assessment shall be due immediate|y.

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FiNE
No fine imposed.
REST|TUTION

No Restitution was orderedl

ISTRIC COURT - WESRNTE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 1:03-CR-10060 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

J. Patten BroWn

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i\/lemphis7 TN 38103

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

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Honorable J ames Todd
US DISTRICT COURT

